                     Case 5:21-cr-00275-C Document 90-7 Filed 10/05/21 Page 1 of 1
                                              CRIMINAL COVERSHEET                                                                            ^
                          U.S. District Court, Western District of Oklahoma

Petty I I Misdemeanor I i Felony[3 USAONo.:                                                     Case NoCR 21-275
Charging Document:Indictment                           No. of Defendants: 9                   Total No. of Counts: 66            Sealed: Y||
Forfeiture: Y [7] OCDETF: Y[7] McGirt: Y Q                                       Warrant □ SummonsD Notice [7i                              N [7]
               NI I                        N| I                N [7]             Companion Case No. (if any):
 DEFENDANT INFORMATION:                                                                                               By: Icn

 Name: CALISTA CHARMAINE CLARK                                                                                   OCT 0 5 2021
 Alias(es):                                                               Address:

                                                                          FBI No.:

 DOB: XX-XX-1984                          SSN:XXX-XX-5517                 Race: White                           Interpreter: Y            N 7J
 Sex: M [_]            F [7j          Juvenile: Y []]          N /j Language/Dialect: English
                                                                                    PRIOR MAGISTRATE
DEFENDANT STATUS/RECOMMENDATION:                                                    JUDGE PROCEEDINGS:

  1 1 Not in Custody                          [7]      Detention Requested Complaint:                   Y [7]           N [~~]
  [ 1 Type of Bond:                                                                Magistrate Judge Case No.; MJ- 21-524-STB
  [71 In Custody at: Oklahoma County Jail
         Inmate/Prisoner/Register No.: 199946966                                   Previously Detained:           Y [Tj          N

 ATTORNEY/AGENCY INFORMATION:
                          Name: Eddie Valdez
  1 j Public Defender                                                              AUSA: Thomas Snyder
                          Address: ifiix nf. ^i st StrPPt
  |71 CJA Panel                                                                    Agent /Agency:        HSI
                            Lawton, OK 73507
  1 1 Retained
                          Phone:      (580)595-3662                                Local Officer/Agency:

                                                          CHARGING DETAILS

Count(s)           U.S.C. Citation(s)                     Offense(s) Charged                                          Penalty
                 21 U.S.C. § 846                  Drug Conspiracy                                21 U.S.C. § 841(b)(1)(A) - NLT 10 years, NMT LIFE
     1
                                                                                                 imprisonment, $10,000,000 fine, or both; NLT 5 years
                                                                                                 S/R;$100S/A


    30           21 U.S.C. § 841(a)(1)            Possession of Methamphetamine with             21 U.S.C. § 841(b)(1)(A) - NLT 10 years, NMT LIFE
                                                  Intent to Distribute; Aiding and Abetting      imprisonment, $ 10,000,000 fine, or both; NLT 5 years
                 18 U.S.C. §2
                                                                                                 S/R; $100 S/A


Forfeiture          U.S.C. § 924(d)               Criminal Forfeiture
Allegations      18 U.S.C. § 982(a)( 1)
                 21 U.S.C. § 853                                                  RECEIVED
                 28 U.S.C. §2461(c)
                                                                                         OCI 0 5 2021
                                                                                  Clerk, U.S. District Court
                                                                                   WEST.DIST.OF OKLA.

 Signature of AUSA: s/ THOMAS B. SNYDER                                                                Date. 10/05/2021


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